

















IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO. WR-27,685-07






TIMOTHY WAYNE CARTER, JR., Relator



v.



POTTER COUNTY DISTRICT CLERK, Respondent








ON APPLICATION FOR A WRIT OF MANDAMUS 


FROM POTTER COUNTY






		Per curiam.



O R D E R




	This is an original application for a writ of mandamus.  Relator contends he filed an
application for writ of habeas corpus in cause number 28,148 in the 320th Judicial District Court
on November 12, 2004, but more than thirty-five days have elapsed and the application has not
been forwarded to the Court of Criminal Appeals.

	It is this Court's opinion that additional information is required before a decision can be
reached on the motion for leave to file the instant action.  The respondent, District Clerk of Potter
County, is ordered to file a response with this Court within thirty days by submitting the record
on such habeas corpus application or a copy of a timely-entered order designating issues to be
investigated, see McCree v. Hampton, 824 S.W.2d 578 (Tex.Cr.App. 1992); Martin v. Hamlin,
25 S.W.3rd 718 (Tex.Cr.App. 2000), or by stating the nature of any applications filed by Relator
such that they are not filed pursuant to Article 11.07, §&nbsp;3, TEX.CODE CRIM.PROC., or that no
applications by Relator have been filed.  This application for writ of mandamus is held in
abeyance pending compliance with this order.

	IT IS SO ORDERED this the 10th day of May, 2006.


DO NOT PUBLISH	


